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3                                   UNITED STATES DISTRICT COURT

4                                          DISTRICT OF NEVADA

5                                                       ***
      MY LEFT FOOT CHILDREN’S THERAPY,
6     LLC, et al.,
7                         Plaintiffs,                     2:15-cv-01746-MMD-VCF
                                                          ORDER
8     vs.
      CERTAIN UNDERWRITERS AT LLOYD’S
9
      LONDON SUBSCRIBING TO POLICY NO.
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      HAH15-0632,
                           Defendants.
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            Due to a conflict on the court’s calendar, IT IS HEREBY ORDERED that the video conference
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     hearing scheduled for December 8, 2021, is VACATED, and RESCHEDULED to 10:00 AM, December
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     17, 2021, on the motions below:
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            1. Defendant Underwriters’ motion to enforce order compelling production and for sanctions with
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               memorandum of points and authorities (ECF No. 219),
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            2. Plaintiffs’ motion to modify protective order (ECF No. 220),
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            3. Defendant Underwriters’ motion to extend dates and reopen limited discovery (ECF No. 221),
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            4. Defendant Underwriters’ motion for protective order (ECF No. 222),
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            5. Plaintiffs’ motion to compel responses to interrogatories (ECF No. 231),
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            6. Defendant Underwriters’ motion to compel re: their fourth set of requests for production of
22
               documents to plaintiffs (ECF N0. 232),
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            7. Defendant Underwriters’ motion to overrule plaintiff’s deposition objections and further relief
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               in connection therewith (ECF No. 233)
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1           IT IS FURTHER ORDERED that counsel/the parties must email Courtroom Administrator,

2    Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video

3    conference hearing by noon, December 16, 2021.

4           IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

5           INSTRUCTIONS FOR THE VIDEO CONFERENCE

6           Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

7    to the participants email provided to the Court.

8           • Log on to the call ten (10) minutes prior to the hearing time.

9           • Mute your sound prior to entering the hearing.

10          • Do not talk over one another.

11          • State your name prior to speaking for the record.

12          • Do not have others in the video screen or moving in the background.

13          • No recording of the hearing.

14          • No forwarding of any video conference invitations.

15          • Unauthorized users on the video conference will be removed.

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17          For anyone who is not a party to the action, the call-in telephone number is (888) 273-3658, access

18   code: 3912597, and the phone must be on mute. The call must be made five minutes prior to the hearing

19   time. The court will join the call and convene the proceedings. Recording of the proceedings is prohibited.

20          DATED this 19th day of October, 2021.
                                                                  _________________________
21                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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